       Case 1:24-cr-00293-JGLC          Document 64         Filed 01/31/25     Page 1 of 7




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                       SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,

        Plaintiff,
 v.                                                  Case No.: 1:24-cr-00293-JGLC

 ANTON PERAIRE-BUENO, and JAMES
 PERAIRE-BUENO,

        Defendants.



                    DEFENDANTS’ REPLY IN SUPPORT OF
         JOINT MOTION TO COMPEL PRODUCTION OF BRADY MATERIAL

       In light of the representations made in the Opposition (ECF 61), the Court should reaffirm

the government’s ongoing obligations to produce the material requested. See ECF 6 (Brady order

regarding James Peraire-Bueno); ECF 38 (Brady order regarding Anton Peraire-Bueno).

Defendants James and Anton Peraire-Bueno do not seek an order requiring the government to

affirmatively seek evidence not in its possession.

       The Opposition states that the government has already disclosed all the information in its

possession responsive to the categories sought by this Motion. The government had not previously

indicated as much. Indeed, it had previously refused to confirm that it had searched the materials

in its possession for documents or information related to those topics. If the government has

searched for and produced all Brady material, the Peraire-Buenos agree that there is nothing further

to be disclosed at this time so long as the government complies with its ongoing obligations. The

Peraire-Buenos are not asking the government to produce materials beyond what is presently in its

possession and do not attempt to impose on the government any additional obligation to

affirmatively gather more evidence on these topics.



                                                 1
       Case 1:24-cr-00293-JGLC           Document 64        Filed 01/31/25       Page 2 of 7




        Even though the government says it has provided all material responsive to these requests

through its document productions and Brady disclosures, the government spends several pages

arguing that it has no obligation to produce such material under Brady or this Court’s Orders

because the material is not exculpatory. Those arguments lack merit.

               1.      Material Related to Sandwich Attackers and Their Market
                       Manipulation

        With respect to the first two categories of requests—that material tending to show that the

alleged victims were engaged in “sandwich attacks” and that sandwich attacks are a form of market

manipulation—the government misses the point. The Indictment makes specific allegations about

the nature and character of the trading practices of the alleged victim traders—including that their

trading practices were “typical arbitrage”—and of the expectations of the different participants in

the trading environment, including the alleged victim traders’ purported expectations that they

were entitled to a particular trading order. E.g., Indict. ¶ 13. These allegations portray the alleged

victims as typical users participating in a market with trusted intermediaries. The government

doubles down on this view elsewhere in the Opposition when it discusses the Peraire-Buenos’

motions to dismiss. See Opp’n 6-7, 29 (describing the relay as acting as an “escrow” that held the

alleged victim’s “private trading information”). Indeed, the government’s theory as to why the

Peraire-Buenos allegedly committed fraud relies on its related allegations about users’

expectations about the trading environment—as it must, because the Indictment neither alleges

that government regulations or guidance define what conduct is permitted on the Ethereum

Network nor alleges any direct relationship between the Peraire-Buenos and the alleged victims in

this case.

        The Peraire-Buenos explained in their Motion (ECF 51) how the evidence they request

regarding sandwich attacks undermines the allegations related to the trading environment and the



                                                  2
       Case 1:24-cr-00293-JGLC           Document 64        Filed 01/31/25      Page 3 of 7




defendants’ intent, and is therefore favorable to them. See Mot. 10-12. As the Peraire-Buenos

anticipated, see Mot. 12-13, the government ignores this explanation and tries to recast the Peraire-

Buenos’ argument as claiming that the alleged fraud was justified because the alleged victims were

engaged in potentially criminal behavior. While the government’s choice to vindicate sandwich

attackers through this first-of-its-kind criminal prosecution raises serious constitutional concerns,

see Mot. to Dismiss the Indict. for Failure to Provide Fair Notice (ECF 49), the Peraire-Buenos do

not argue that fraud is excused if the victim is a criminal. Rather, as the Motion explains, the

Indictment makes allegations about the trading environment, the alleged victims, and their intent

in proposing certain trades, and this requested evidence directly contradicts those allegations,

which are core to the Indictment’s novel theory of fraud.

       Part of the government’s argument seems to be that Brady does not require all material to

be disclosed simply because it is consistent with a defense theory. Presumably, the government is

contesting the materiality of the requested Brady material—not the fact that evidence “favorable

to the accused” is exculpatory.1 A prosecutor who relies on a pretrial assessment of materiality to

resist disclosure plays a dangerous game. Courts have long cautioned prosecutors to take a broad

view of potentially exculpatory information when making such judgments prior to trial,

particularly where (as here) the defendants furnish specific rather than general Brady requests. See

Kyles v. Whitley, 514 U.S. 419, 439 (1995) (“[A] prosecutor anxious about tacking too close to the

wind will disclose a favorable piece of evidence.”); United States v. Agurs, 427 U.S. 97, 108 (1976)



1
       See Opp’n 66 & n.1. The best reading of United States v. Bonaventre, 2013 WL 2303726,
at *8 (S.D.N.Y May 28, 2013), on which the government relies, is that its denial of the Brady
motion at issue relied on the materiality prong. The court did not explain why it viewed the
requested evidence as “not supported by Brady and its progeny,” but the discussion included the
requested timing of the disclosures and the fact that the requested evidence was a step removed
from other evidence the government had agreed to produce under its Brady obligations. See id.



                                                 3
         Case 1:24-cr-00293-JGLC         Document 64        Filed 01/31/25      Page 4 of 7




(“[T]he prudent prosecutor will resolve doubtful questions in favor of disclosure.”); United States

v. Safavian, 233 F.R.D. 12, 16 (D.D.C. 2005) (“Most prosecutors are neither neutral (nor should

they be) nor prescient, and any such judgment necessarily is speculative on so many matters that

simply are unknown and unknowable before trial begins[.]”); United States v. Sudikoff, 36 F. Supp.

2d 1196, 1198-99 (C.D. Cal. 1999) (“[I]n the pretrial context it would be inappropriate to suppress

evidence because it seems insufficient to alter a jury’s verdict.”). Evidence, or material that could

lead to evidence, regarding these sandwiching topics plainly is subject to pre-trial disclosure under

Brady.

               2.      Anonymity of the Alleged Victims

         The government’s arguments with respect to anonymity are also flawed. The Peraire-

Buenos explained in their Motion how this material would be exculpatory. Mot. 13-14. The

Indictment alleges that the Peraire-Buenos took steps to hide their identities and alleges that these

steps are indicative of an intent to defraud. E.g., Indict. ¶ 2. The government doubles down on

these dubious theories in its Opposition to the Peraire-Buenos’ motions to dismiss and motion to

suppress. See, e.g., Opp’n 12 (“the defendants took steps to conceal their deception”). But

evidence that many participants in decentralized cryptocurrency exchanges—including the

participants in the alleged transactions at issue on the Ethereum Network—regularly make efforts

to maintain their anonymity for entirely innocent reasons undermines the inculpatory inference

alleged in the Indictment. See Mot. 13-14.

         The government’s response amounts to an argument that the actions of others on the

Ethereum Network are not probative of the Peraire-Buenos’ state of mind because the government

believes the defendants were acting with nefarious intent (and claims it has other evidence too).

But that misses the point: the government will need to prove its allegations, and evidence that




                                                 4
       Case 1:24-cr-00293-JGLC           Document 64       Filed 01/31/25     Page 5 of 7




shows the Peraire-Buenos’ actions were normal and typical, not nefarious as the Indictment

alleges, goes to whether the government’s allegations are true. 2

                                  *              *              *

       Given the representations made by the government in its Opposition, the Court should

affirm the government’s ongoing obligation to disclose the following in its possession:

       (1) Material tending to show that the alleged Victim Traders were engaged in trading

       strategies known as “sandwich attacks” on the Ethereum Network;

       (2) Material tending to show that sandwich attacks are a form of market manipulation; and

       (3) Information regarding the anonymity of the alleged Victim Traders, including refusals

       to identify themselves, known steps they have taken to hide their identities, and requests

       for anonymity and the reasons for seeking anonymity.




2
        It is not clear what the government means when it suggests that evidence is only relevant
if it would “tend to prove or negate the defendants’ participation in the charged offenses.”
Opp’n 67 (emphasis added). The government must prove facts well beyond the Peraire-Buenos’
“participation” in the alleged transactions, including that they made a material misrepresentation
within the meaning of the wire fraud statute with intent to defraud their alleged victims. See Mot.
to Dismiss the Indict. for Failure to Allege Essential Elements (ECF 49) at 20-29.



                                                 5
      Case 1:24-cr-00293-JGLC   Document 64       Filed 01/31/25     Page 6 of 7




Date: January 31, 2025                Respectfully submitted,


                                          By: /s/ Katherine Trefz

                                          Katherine Trefz (pro hac vice)
                                          Daniel Shanahan (pro hac vice)
                                          Patrick J. Looby (pro hac vice pending)
                                          Williams & Connolly LLP
                                          680 Maine Avenue SW
                                          Washington, DC 20024
                                          Tel: (202) 434-5000
                                          ktrefz@wc.com
                                          dshanahan@wc.com
                                          plooby@wc.com

                                          Jonathan P. Bach
                                          Shapiro Arato Bach
                                          1140 Avenue of the Americas
                                          17th Floor
                                          New York, NY 10036
                                          Tel: 212-257-4897
                                          jbach@shapiroarato.com

                                          Counsel for Defendant
                                          James Peraire-Bueno


                                          By: /s/ Daniel N. Marx

                                          Daniel N. Marx
                                          William W. Fick (pro hac vice)
                                          Fick & Marx LLP
                                          24 Federal Street, 4th Floor
                                          Boston, MA 02110
                                          Tel: 857-321-8360
                                          dmarx@fickmarx.com
                                          wfick@fickmarx.com

                                          Counsel for Defendant
                                          Anton Peraire-Bueno




                                      6
      Case 1:24-cr-00293-JGLC         Document 64       Filed 01/31/25     Page 7 of 7




                               CERTIFICATE OF SERVICE

       I hereby certify that on January 31, 2025, I electronically filed the foregoing document

with the Clerk of Court using the CM/ECF system which will send notification of such filing to

all counsel of record in this matter who are on the CM/ECF system.



                                                   /s/ Katherine Trefz
                                                   Katherine Trefz




                                              7
